 1 Charles P. Maher, State Bar No. 124748
   RINCON LAW, LLP
 2 200 California Street, Suite 400
   San Francisco, CA 94111
 3
   Telephone No.: 415-840-4199
 4 Facsimile No.: 415-680-1712
   Email: cmaher@rinconlawllp.com
 5
   Attorneys for Plaintiff
 6 MARLENE G. WEINSTEIN,
   Chapter 7 Trustee
 7

 8                             UNITED STATES BANKRUPTCY COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                         OAKLAND DIVISION

11 In re                                                Case No. 18-41344 WJL
                                                        Chapter 7
12       THE PIPER GROUP, INC.,                         Hon. William J. Lafferty
13                 Debtor.
14 MARLENE G. WEINSTEIN, TRUSTEE,
                                                        Adversary Proceeding No. 18-04093
15                         Plaintiff.
16 v.

17 JVC CORP, a Nevada corporation, and JEAN
   V. CIRIMELE, an individual, dba JVC CORP,
18 JVC CORP, a Wyoming corporation, and
   MELANIE S. DONAGHY, an individual,
19
                      Defendants.
20

21                                      CERTIFICATE OF SERVICE
22          I, Charles P. Maher, declare as follows:

23          1.     I am a partner at the law firm Rincon Law LLP, which is situated at 200 California

24 Street, Suite 400, San Francisco, California. I am over the age of 18 years and am not a party to the

25 above-entitled action. I am admitted to practice before this Court.

26          2.     I am familiar with the practice of Rincon Law LLP for mailing documents, by which

27 each document is placed in an envelope, the envelope is sealed and addressed, the appropriate

28 amount of postage is placed on the envelope and the sealed envelope is placed in either the office

Case: 18-04093     Doc# 9     Filed: 07/31/18     Entered: 07/31/18 09:36:10       Page 1 of 5        1
 1 mail receptacle or deposited in a United States Postal Mailbox at or before the close of business

 2 each day.

 3          3.      On the date of execution hereof, I served the following documents by first class mail:

 4                        First Amended Complaint for Avoidance and Recovery
                             of Fraudulent Transfers and Preferential Transfers
 5

 6           Alias Summons and Notice of Scheduling Conference in an Adversary Proceeding

 7                         Order Re Initial Disclosures and Discovery Conference
 8                                           [Notice to Plaintiff]
 9
                                          BDRP Information Sheet
10
            4.      I served these documents by placing authentic of them in a sealed envelope with
11
     postage fully prepaid in a United States Postal Mailbox at San Francisco, California, which envelope
12
     was addressed to:
13

14 JVC Corp
   Attn: Jean V. Cirimele, CEO
15 609 Marina Way South
   Richmond, CA 94804
16

17 Jean V. Cirimele
   5 Lower Via Casitas
18 Larkspur CA 94904

19 JVC Corp, Attn. Yvette Griffith
   109 E. 17th Street
20 Cheyenne, WY 82001

21
   Melanie S. Donaghy
22 99 Brodea Way
   San Rafael CA 94901
23

24          I declare under penalty of perjury that the above statements are true and that if called as a
25 witness I could and would testify to their truthfulness. This certificate is executed on the 31st day

26 of July 2018 in San Francisco, California.

27
                                            /s/Charles P. Maher
28
                                              Charles P. Maher
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Form SUM
                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of California

In Re:
The Piper Group, Inc. Debtor(s)                                Bankruptcy Case No.: 18−41344
                                                               Chapter: 7
Marlene G. Weinstein Plaintiff(s)
vs.
JVC Corp Defendant(s)                                          Adversary Proceeding No. 18−04093
(See attachment for additional defendant(s))

                    ALIAS SUMMONS AND NOTICE OF SCHEDULING CONFERENCE
                                        IN AN ADVERSARY PROCEEDING
  YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                                           United States Bankruptcy Court
                                            1300 Clay Street, Suite 300
                                                Oakland, CA 94612

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                                                   Charles P. Maher
                                                  Rincon Law, LLP
                                                 268 Bush St. #3335
                                               San Francisco, CA 94104

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

YOU ARE NOTIFIED that a scheduling conference in the adversary proceeding commenced by filing of the
complaint will be held at the following time and place.

 DATE: October 3, 2018                                       TIME: 10:30 AM

 LOCATION: U.S. Bankruptcy Court, 1300 Clay St. Room 220, Oakland, CA 94612


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.
PLAINTIFF SHALL PROMPTLY SERVE A COPY OF THE BANKRUPTCY DISPUTE RESOLUTION
PROGRAM INFORMATION SHEET ON ALL PARTIES. A COPY OF THE INFORMATION SHEET IS
AVAILABLE ON THE COURT'S WEBSITE AT WWW.CANB.USCOURTS.GOV AND THE CLERK'S
OFFICE.

                                                           For the Court:

                                                           Edward J. Emmons
                                                           Clerk of Court
                                                           United States Bankruptcy Court




Dated:7/30/18
                                                           Monica Tartaglia
                                                           Deputy Clerk


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                                           CERTIFICATE OF SERVICE

I,_____________________________________________(name), certify that service of this summons and

copy of the complaint was made _________________________(date) by:



     Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:




     Personal Service: By leaving the process with defendant or with an officer or agent of defendent at:




     Residence Service: By leaving the process with the following adult as:




    Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
   addresses to the following officer of the defendant at:



     Publication:The defendant was served as follows:[Describe briefly]




     State Law:The defendant was served pursant to the laws of State of _________________________,
   as follows:[Describe briefly]




If service was made by personal service,by residence service, or pursuant to state law, I further certify that I am, and
at all times during the service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made.



                       Under penalty of perjury, I declare that the foregoing is true and correct.



          Date ___________________               Signature _________________________
                                              Print Name: _________________________
                                         Business Address: _________________________
                                                           _________________________




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       ADDITIONAL PLAINTIFFS/DEFENDANTS/ALIASES NOT LISTED ON THE FIRST PAGE


Jean V. Cirimele, Defendant
dba JVC Corp

JVC Corp, Defendant

Melanie S. Donaghy, Defendant




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